Case 5:22-cr-00288-EJD Document 50 Filed 01/11/24 Page 1 of 8

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIL! LED

SAN JOSE DIVISION JAN 1 2024
THE UNITED STATES OF AMERIGASS253S) 207,
N JOSE OFFICE
VS

EDWARD TELLES SOLIS

CR. - 22- 00208-ETD

SUPERSEDING INDICTMENT

COUNT ONE: 21 U.S.C. § 841(a)(1) and (b)(1)(C) — Possession with

Intent to Distribute Fentanyl

COUNT TWO: 18 U.S.C. § 922(g)(1) — Felon in Possession of a

Firearm and Ammunition

COUNT THREE: 18 U.S.C. § 924(c)(1) — Possession of a Firearm in

Furtherance of a Drug Trafficking Crime

COUNT FOUR: 21 U.S.C. § 843(c)(2)(A) — Advertisement of a

Controlled Substance on the Internet

COUNT FIVE: 21 U.S.C. § 841(a)(1) and (b)(1)(C) — Distribution of

A true bill.

Fentanyl

Foreperson

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Filed in open court this __\| day of. kn, A.D. 2024

United States (Bish Judge

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ISMAIL J. RAMSEY (CABN 189820)
United States Attorney

FILED

JAN 1§ 2024

CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA
SAN JOSE OFFICE

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
v.
EDWARD TELLES SOLIS,

Defendant.

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SAN JOSE DIVISION

CASE NO. CR 22-00288 EJD
VIOLATIONS:

21 U.S.C. § 841(a)(1) and (b)(1)(C) — Possession with
Intent to Distribute Fentanyl;

18 U.S.C. § 922(g)(1) — Felon in Possession of a
Firearm and Ammunition;

18 U.S.C. § 924(c)(1) — Possession of a Firearm in
Furtherance of a Drug Trafficking Crime;

21 U.S.C. § 843(c)(2)(A) — Advertisement of a
Controlled Substance on the Internet;

21 U.S.C. § 841(a)(1) and (b)(1)(C) — Distribution of
Fentany];

21 U.S.C. § 853(a), 18 U.S.C. § 924(d), and

28 U.S.C. § 2461(c) — Forfeiture Allegation

SUPERSEDING INDICTMENT

The Grand Jury charges:

COUNT ONE: (21 U.S.C. § 841(a)(1) and (b)(1)(C) — Possession with Intent to Distribute

Fentanyl)

On or about May 5, 2022, in the Northern District of California, the defendant,

EDWARD TELLES SOLIS,

did knowingly and intentionally possess with intent to distribute a mixture and substance containing a

detectable amount of N-phenyl-N-[1—(2—phenylethyl)—4—piperidinyl] propanamide (otherwise known as

INDICTMENT

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fentanyl), a Schedule II controlled substance, in violation of Title 21, United States Code, Section
841(a)(1) and (b)(1)(C). .

COUNT TWO: (18 U.S.C. § 922(g)(1) — Felon in Possession of a Firearm and Ammunition)

On or about May 5, 2022, in the Northern District of California, the defendant,
EDWARD TELLES SOLIS,

knowing he had previously been convicted of a crime punishable by imprisonment for a term exceeding
one year, knowingly possessed a firearm, namely, one Charter Arms Undercover 38 Special revolver
bearing serial number 15-13757, and loaded with two rounds of .38 caliber ammunition, and ammunition,
namely, 29 rounds of .40 caliber Hornady American Gunner brand ammunition and 60 rounds of .40
caliber Fiocchi brand ammunition, and the firearm and ammunition were in and affecting interstate and
foreign commerce, all in violation of Title 18, United States Code, Section 922(g)(1).

COUNT THREE: (18 U.S.C. § 924(c)(1) — Possession of a Firearm in Furtherance of a Drug
Trafficking Crime)

On or about May 5, 2022, in the Northern District of California, the defendant,
EDWARD TELLES SOLIS,
did knowingly possess a firearm, that is, a Charter Arms Undercover 38 Special revolver bearing serial
number 15-13757, in furtherance of the drug trafficking crime charged in Count One of this Indictment,
all in violation of Title 18, United States Code, Section 924(c)(1)(A).

COUNT FOUR: (21 U.S.C. § 843(c)(2)(A) — Advertisement of a Controlled Substance on the
Internet)

From in or about December 2021 to in or about April 2022, in the Northern District of California,
the defendant,
EDWARD TELLES SOLIS,
did knowingly and intentionally use the Internet to advertise the sale of and to offer to sell, distribute, and
dispense a controlled substance, all in violation of Title 21, United States Code, Section 843(c)(2)(A).
COUNT FIVE: (21 U.S.C. § 841(a)(1) and (b)(1)(C) — Distribution of Fentanyl!)
On or about March 4, 2022, in the Northern District of California, the defendant,

EDWARD TELLES SOLIS,

SUPERSEDING INDICTMENT 2

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did knowingly and intentionally distribute a mixture and substance containing a detectable amount of
N-phenyl-N-[1—(2—phenylethyl)—4—piperidinyl] propanamide (otherwise known as fentanyl), a Schedule
II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).

FORFEITURE ALLEGATION: (21 U.S.C. § 853(a), 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c))

The allegations contained above are hereby re-alleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 21, United States Code, Section 853(a), Title 18, United
States Code, Section 924(d), and Title 28, United States Code, Section 2461 (c).

Upon conviction of the offenses alleged in Counts One, Four, and Five above, the defendant,

EDWARD TELLES SOLIS,
shall forfeit to the United States all right, title, and interest in any property constituting and derived from
any proceeds defendant obtained, directly or indirectly, as a result of such violations, and any property
used, or intended to be used, in any manner or part, to commit or to facilitate the commission of such
violations, including but not limited to a forfeiture money judgment and the following property:
a. $17,243.00 cash seized from the trunk of a black Mercedes-Benz E63 AMG sedan
bearing California license plate #83RLG065 on May 5, 2022;
b. One Charter Arms Undercover 38 Special revolver bearing serial number
15-13757, and the two rounds of ammunition loaded therein;
c. All ammunition and magazines seized from the truck of a black Mercedes-Benz
E63 AMG sedan bearing California license plate #83RLG065 on May 5, 2022;
d. $98,246.00 cash seized from the residence of 3097 Nicklas Lane, Apt. 2, Marina,
California on May 5, 2022;
e. One gold Samsung cellular phone with gold phone case (IMEI 356164074419015);
f. One red iPhone with black Otterbox phone case (no visible IMEI);
One black Samsung cellular phone (no visible IMED;
h. One black Samsung cellular phone with grey phone case (IMEI 35489706496678);
and
i. One grey Samsung cellular phone with black phone case (IMEI
355257072438473).

SUPERSEDING INDICTMENT 3

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Upon conviction of the offenses set forth in Counts Two and Three, the defendant,
EDWARD TELLES SOLIS,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 2461(c), any firearm and ammunition involved in the commission of the
offenses, including, but not limited to, the following items seized from a black Mercedes-Benz E63 AMG
sedan bearing California license plate #8RLG065 on May 5, 2022:
a. One Charter Arms Undercover 38 Special revolver bearing serial number
15-13757, and the two rounds of ammunition loaded therein; and
b. All ammunition and magazines located in the trunk of the vehicle.
If any of the property described above, as a result of any act or omission of the defendant:
a. cannot be located upon exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

All pursuant to Title 21, United States Code, Section 853, Title 18, United States Code, Section
924(d), Title 28, United States Code, Section 2461(c), and Federal Rule of Criminal Procedure 32.2.
DATED: January 11, 2024 A TRUE BILL.

/sf
FOREPERSON
San Jose

ISMAIL J. RAMSEY
United States Attorney

/s/ Dan M. Karmel
DAN M. KARMEL
Assistant United States Attorney

SUPERSEDING INDICTMENT 4

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AO 257 (Rev. 6/78)

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DIRQ

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sy: C] comptaint C1 INFORMATION INDICTMENT
SUPERSEDING

OFFENSE CHARGED
COUNT ONE: 21 U.S.C. § 841{a)(1) and (bH1NC) [_] Peity
COUNT TWO: 18 U.S.C. § 922(g)(1)
COUNT THREE: 18 U.S.C. § 924(c)(1) [] Minor
COUNT FOUR: 21 U.S.C. § 843(c}(2)(A) ,
COUNT FIVE: 21 U.S.C. § 841(a)(1) and (b)(1)(C) [ Misde”
Forfeiture Allegation: 21 U.S.C. § 853(a), 18 U.S.C. § 924(d), meanor
and 28 U.S.C. § 2461(c) Felony

PENALTY:
See attached

Name of District Court, and/or Judge/Magistrate Lo ation
NORTHERN DISTRICT O L
JANE BA,

SAN JOSE DIVISION

CLERK, U.S, DISTRICT COURT

NORTH DI
r—- DEFENDANT - U.S AN JOSE OFFICE

» EDWARD TELLES SOLIS

DISTRICT COURT NUMBER
CR 22-288 EID

DEFENDANT

PROCEEDING

Name of Complaintant Agency, or Person (& Title, if any)

DEA

person is awaiting trial in another Federal or State Court,
O give name of court

this person/proceeding is transferred from another district
CL per (circle one) FRCrp 20, 21, or 40. Show District

this is a reprosecution of

charges previously dismissed
O which were dismissed on motion SHOW

of: \ DOCKET NO.

L] U.S. ATTORNEY Cc] DEFENSE

this prosecution relates to a
pending case involving this same

defendant MAGISTRATE

CASE NO.
prior proceedings or appearance(s)
before U.S. Magistrate regarding this mie
defendant were recorded under 22-mj-70599

Name and Office of Person

Furnishing Information on this form Ismail J. Ramsey

[x] U.S. Attorney [] Other U.S. Agency

Name of Assistant U.S.

Attorney (if assigned) Dan M. Karmel, AUSA

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) [[] If not detained give date any prior
summons was served on above charges

2) [_] |s a Fugitive

3) [[] Is on Bail or Release from (show District)

IS IN CUSTODY
4) On this charge

5) [_] On another conviction

} [_] Federal [_] State

6) [_] Awaiting trial on other charges
if answer to (6) is "Yes", show name of institution

Has detainer L] Yes te
been filed? O No fi

filed

DATE OF » Month/Day/Year
ARREST May 5, 2022

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

PROCESS:
[SUMMONS [X] NOPROCESS* [] WARRANT

If Summons, complete following:
[_] Arraignment [_] Initial Appearance

Defendant Address:

Comments:

ADDITIONAL INFORMATION OR COMMENTS

Date/Time:

CT] This report amends AO 257 previously submitted

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

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Superseding Indictment
Attachment to Penalty Sheet - TELLES SOLIS

Count One: 21 U.S.C. § 841(a)(1) and (b)(1)(C) — Possession with Intent to Distribute Fentanyl

Maximum prison sentence 20 years
Maximum fine $1,000,000
Minimum term of supervised release 3 years
Maximum term of supervised release Life
Mandatory special assessment $100

Forfeiture
Denial of federal benefits

Count Two: 18 U.S.C. § 922(g)(1) — Felon in Possession of a Firearm and Ammunition

Maximum prison sentence 10 years
Maximum fine $250,000
Maximum term of supervised release 3 years
Mandatory special assessment $100

Forfeiture

Count Three: 18 U.S.C. § 924(c)(1) — Possession of a Firearm in Furtherance of a Drug

Trafficking Crime

Mandatory minimum prison sentence

5 years, consecutive

Count Four: 21] U.S.C. § 843(c)(2)(A) — Advertisement of a Controlled Substance on the

Internet

Maximum prison sentence 4 years
Maximum fine $250,000
Maximum term of supervised release 3 years
Mandatory special assessment $100

Forfeiture

Count Five: 21 U.S.C. § 841(a)(1) and (b)(1)(C) — Distribution of Fentanyl

Maximum prison sentence 20 years
Maximum fine $1,000,000
Minimum term of supervised release 3 years
Maximum term of supervised release Life
Mandatory special assessment $100

Forfeiture
Denial of federal benefits
